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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN
FILE NUMBER: 19CV503

JOHN A. FRENCH
PLAINTIFF,

Vs. NOTICE OF APPEAL

REESE RICHARDSON ET AL.,
DEFENDANTS,

Notice is hereby given that John A. French Jr,
plaintiff in the above named case,* hereby appeal to the
United States Court of Appeals for the Seventh Circuit (from
the final, judgment) (describing it) entered in this action on
the ava day of Aprz: \ , 2021.

Electro on doarad Wn

s/ John A. French Jr
Plaintiff, Pro-Se

 

Columbia Correctional Inst
PO Box 900
Portage, WI 53901

 
